Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 1 of 13 Pageid#: 1
                                                                           CLERKS OFFICE U,S,DIST.COURT
                                                                               ATCHARLQU ESVILE,M%
                                                                                       FILED
                    IN TH E UM TED STATES DISTRICT COURT
                   FOR THE W ESTERN DISTRICT OF W RGINIA                          FE2 13 2912
                        CH ARI,OTTESVILLE DIVISION                             JuL1 =.D   LEY G E
                                                                              BY:

  JO IIN PETER M ISK A,         )
                                )
            Plaintiff,          )
                                )                    CaseNo J'
                                                             .1qCV= l&
                                                                  '

                                )                             .                   .


                                )
  THE CITY OF CHARI,OTTESW LLE, )
                D efendant.
                                      C O M PL M N T

         COG S NOW the Plaintiff,John PeterM iska,by and through thetmdersigned

  cotmsel,and allegesandaversasfollows:

                                    INTRODU CTION
         1.     A fhndnm entaland essentialaspectofthe liberty guaranteed to citizensby

  the Ullited States Constitution is the right of 9ee m ovement upon public streets,

  sidewalks and thoroughfares. Unless 1aw enforcem entofficials have specific evidence

  thata person is involved in some crim inalactivity,they m ay notim pede thatperson's

  geedom ofmovementupon public sidewalks and thoroughfaresby requiring the person

  subm itthem selvesto a search oftheirbody and theirpossessions.Citizens are free to

  roam and loiterin publicplacesand are notrequired to providepolicewith theiridentity

  orgivean accotmtoftheirpurposeforexercisingtheirgeedom .

                Tllis case seeks to vindicate the loss of those rights by innum erable

  personstmderordinancesand an em ergency declaration issued in Augustof2018by the

  City of Charlottesville, Virginia, enacted and declared as a result of civil disorder that

  occurredintheCityonAugust12,2017.Plaintifflolm PeterM iskaC&M iska''),aresident
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 2 of 13 Pageid#: 2



 of the Comm onwea1th of Virginia, citizen of the United States,and disabled Army

 veteran,wasnmong those who were deprived oftheirConstitm ionalrightsas a resultof

  theordinancesandemergency declaration.

               On August11,2018,M iskawas,withoutanyjustilcation,seizedby 1aw
  enforcementoffkers,subjectedtoasearchofhisperson andpossessions,andeventually
  arrested foraviolation ofj 18-25 oftheCity ofCharlottesvilleCode ofOrdinancesin
  violation ofrights guaranteed to Mm by the Fourth and Fourteenth Amendmentsto the

  United StatesConstimtion.

        4.     Because M iska's arrest was caused or carried out by the City of

  Chadottesville and itsoftk ersand agents,theVirginia StatePolice,andpoliceoftk ersor

  otherpersonsacting tmdercolorofstatelaw,M iskabringsthissuitpursuantto42 U.S.C.

  j1983 to obtain reliefforthedeprivation ofhisConstimtionalrightsandto preventthe
  City ofCharlottesvillefzom subjecting him and othercitizensto similardeprivationsin
  thefuture.

                              JURISDICTION AND VENUE

         5.     ThisCotlrthassubjectmatterjurisdiction overthiscivilaction tmder28
  U.S.C.jj 1331 and 1343,asitseeksreliefforthedemivation ofrightssecured by the
  Constimtion and laws ofthe United States and tmder arlActof Congressproviding for

  theprotection ofcivilrights.

                ThisCourthasjurisdictionovertheclaimsseekingdeclaratoty reliefunder
  28U.S.C.jj2201and2202.
         7.     Venuefortlliscivilaction properly liesin the W estern DistrictofVirginia

  tmder28 U.S.C.j139109,asa substantialpartofthe eventsgiving rise to thisaction
    Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 3 of 13 Pageid#: 3



      occurred within thisDistrict.

             8.       'rhe Courthasauthozity to award costsahd attorney's feespursuantto 42

      U.S.C.j1988.                                                                             .
                                             PA R TIES
             9.       The Plaintiff?M iska,is aresidentofLynchbm g,Virginia and a citizen of

      theUnited States.

             10.      The Defendant,the City of Charlottesville,isan independently chartered

      m llnicipality,created and acting ptlrsuantto the 1aw ofthe Comm onwea1th ofVirginia.

      In a1lrespectssetforth in this Complaint,the City ofCharlottesville and itsoffkersand

      agentsacted tm dercolorofthe1aw oftheComm onwealth ofVirginia.

                                      TH E LA W S AT ISSUE

             11. TheCodeofOrdinancesoftheCityofCharlottesvilletttcityCode'') j
      18-25providesin relevantpartsasfollow s:

                      The following conduct is declared to be llnlawf'
                                                                     ul and shallbe,
                      upon conviction,punishable as a class IV misdemeanor,llnless a
                      greaterpenalty is authorized and imposed in any otherchapter of
                      tllisCodeorby thelawsofthe Cèm monwea1th ofVirginia:...

                      (e)Thefailuretocomplyduringaneventwithany lawfuldirective
                      of a 1aw enforcem ent oftk er,or with any lawfully posted public
                      sign,direction orinstructioni...

                      (i)Holding,canying,displaying orusing any prohibited item as
                  '
                      defm ed herein within an areawhere an eventistaking placewith a
                      Peznniti...

                      (j)Holding,carrying,displaying orusing any prohibited item as
                      defined herein within a restricted area established by police
                      oflicers as a security m easure for or in cormection with any
                      event;...

                      In addition to thecriminalsanctionsauthorized herein,any person
'
                      engaging in the unlawful conductproscribed by this section, or
                      who violates any section in this article,m ay also be held civilly
                                                  3
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 4 of 13 Pageid#: 4



                   liableforanybamagesorloss,andmaybebrmned9om thefuttlre
                   useofcity-owned property foraspeciûed period oftim e.

        12. CityCodej18-22provides,inrelevantparts,asfollows:
                       Giprohibited item s''shallmean:

                       (1)A1litemsprohibitedby1aw 9om beingheld,canied,displayed,
                       worn orotherwiseused in public;

                       (2)ltemsbnnnedfrom publicorparklands;
                       (3)Any BB guns,pelletgtms,airriflesorpistols,paintballguns,
                       pellet gtm s, ntm chucks, tasers, sttm guns, heavy gauge m etal
                       chains, lengths of blmber or wood, poleq,bricks, rocks, m etal
                           '

                       beverage or food cans or containers, gl%s àottles, axes, axe
                       handles,hatchets,ice picks,acidic orcaustic materials,hazardous,
                       flnmmable,or combustible liquids,dogs (except service dogs),
                       skateboards,swords,knives,daggers,razor blades or other shap
                       item s, metal pipes, pepper or bear spray,m ace,aerosol sprays,
               '
                   .   catapults, m ist rockets, bats, sticks, clubs, drones, explosives,
                       flreworks,open fire or open flnm es,or ètheritem considered an
                       (tim plem entofriof';

                       (4)Any itemscapableofinflicting bodilyharm when theseitems
                       are held or used in an intimidating, threatening, dangerous or
                       harm ftllm nnner;and                     .

                       (5) Law enforcement or militarplike lmiforms or llniform-like
                       clothing,badges,insignia,shields,hats,helm ets,masks,equipm ent
                       and otheritemsthatwhen held,canied,displayed orwom tend to
                       suggest or imply that the wearer is a current m ember of 1aw
                       enforcem ent,the m ilitary,a private militia,or otherpublic safety
                       orgnnization, such as a tsre department or emergency m edical
                       servicesagency.

         13. City Codej 18-25tmdtllyburdens,discourages,and eliminatesthelibezïy
  and right of law-abiding citizens to engage in lawfulcomm ercialactivity and to m ove

  freelywithoutrestriction.

         14.           The Fourth Am endm entguarantees the rightof persons to be free from

  tmreasonablesearchesand seizuresby law enforcementand othergovernmentoflicials.


                                                    4
    Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 5 of 13 Pageid#: 5



             15.    The Fourteenth Am endment sectlres the rightofpersonsto be free from

      depdvationsofliberty orpropertywithoutdueprocessoflaw.

                              THE CITY'S DOW NTOW N M AI',L

             16.    W ithin theCity ofChadottesville,thereisan outdoor,pedestrian ttwalking

      mall''located on EastM ain Street(ço owntownM a11'').TheDowntown Mallconsistsof
      several city blocks and is a popular destination for local residents and tourists for

      commercialand culturalactivities.

             17.    The Downtown M all is hom e to several restaurants, shops, oftk es,

      govem ment buildings, and entertainm ent venues, including an outdoor ampllitheater,

      m ovie theatres, and concert'
                                  halls. It is often the site of special events and nnnual

      celebrations,andisclosed to through-vehicletraffic exceptfortwo well-marked one-way

      streets.

             18.    Am ongthebusinesseson theDowntown M allisa CV S Phnrmacy,located

      at208 East M ain Street,which sells prescription drugs and numerous other goods for

      personaland household use.

                 THE EVENTS O F AUG U ST 12.2017,AN D TH E CITY 'S RE SPO N SE
                                       -
                                           '                                 .
.



             19.    0n August 12 of 2017, the City of Charlottesville was the scene of

      protestsand cotmter-proteststhatt'urned violently hostile,resulting in thehospitalization

      ofseveralpersons and the death ofa young wom an who was struck by a vehicle on the

      perimeteroftheDowntown M all.

             20.    Citing these 2017 events,the City of Charlottesville, through its City

      Council,passed severalordinances in February of2018 thatwere m eantto restrictthe

      item s that m ay be pùssessed at futm e events and demonstrations in the City and to

      regulate conductatsuch events and dem onstrations.These ordinances w ere subsequently
                                                 5
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 6 of 13 Pageid#: 6



  nm ended in July of2018.

         21.    Of these new ordinances,the City of Charlottesville, tlzrough its City

  Councilasitsfinalpolicymaking authority,enacted City Code jj 18-22 and 18-25,the
  latterofwhich providesfor crim inalplnishmentforviolations.

         22.    On August 8,2018,Virginia Governor Ralph N orthnm and the City of                 .

  Charlottesville preem ptively declared a flstate of Em ergency'' for the City of            ,

  Charlottesville forthe weekend of August 10 through 12,2018,and allocated several

  m illion dollarsin state and localfllndsforsectlrity m easures.The iist>te ofEm ergency''

  and otherstepsweretaken in anticipation ofevents,ralliesand protestswithin the City on

  theone-yearanniversary ofthetmrestthattook placeintheCity on August12,2017.

         23.    In addition to the State of Em ergency, the City of Charlottesville

  authorized and implem ented severalrestrictive security measuresfortheDowntown M all

  and surrounding areas.Thesemeasuresincludedthefollowing:

                a. Deploying approxim ately 700 police officers,m any of whom were

                    equippedwith riotgear,gasmasks,and em ergency vehicles;

                b. Lim iting pedestrian accessto the Downtown M allto selectentrm ays

                    that were sectlred by 1aw enforcem ent and requiring a11 persons

                    entering the Downtown M allto tmdergo security screenings oftheir

                    person,purses,bags,and othereffects;

                c. Closing severalstreets,parlcingareas,and publicparks;

                d. Prohibiting persons from weadng m asks,bringing dogs,or carrying

   :                theitemsdesignatedasprohibitedinCityCodej18-22)
         24.    The City did notissue a perm itfor any specialevent to take place on the


                                             6
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 7 of 13 Pageid#: 7



  Dom ztown M allduringtheperiod the restrictivesecurity measureswerein effect.

               TTIE IM PACT OF THE CITY 'S ACTIONS ON TH E PLAINTIFF

         25.    On Saturday, August 11, 2018, M iska, then a resident of Albem arle

  Cotmty,Virginia,w entto theDowntown M allintendl gto shop forpersonalitem sandto

  have lunch with an acquaintance. Atthis tim e,M iska was in legalpossession oftwo

  flrenrms: one in a shoulderholsterthatwasplainly visible and the otherin a pocketof

  the shortshewaswearing.

         26.    In orderto entertheDowntown M allthatday,M iskaand a1lotherpersons

  wererequized,asaresultoftheenhancedsecmity measmessetforth in!!23-24 above,
  to go through asecutity checkpointwherepolice oftk ersstopped them and checked their

  personandbelongingsforitemsthatwereproscribedbyCityCodejj 18-22and 18-25.
                AsM iskawasapproachingthecheckpointthathad been established where

  2ndstreetintersectswith theDowntown M all, M iskawasapproached by a Virginia State

  Policeofscer.Theofficerstopped M iska,indicated heknew M iskaand asked M iskawhy

  hewasgoingtotheDowntown M all.

         28.    M iska inform ed the officerhe wasthere to buy item sthatwere on sale at

  the CVS Phnrmacy and to have lunch.He also told the officerthathe wascarrying two

  firearm s. The officerasked ifM iska'spossession ofthe flrearmswaslegal,and M iska

  replied afsrm atively. Afterchecldng theftrenrmsand M iska'sperson,theofficerwalked

  with M iska to the sectuity checkpointand told theotherofficersmnnning thecheckpoint

  thathe had checked M iska and thatM iska could passthrough the checkpointonto the

  D ow ntow n M all.

         29.    This stop of M iska and the actions of law enforcem ent oflicers at the


                                            7
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 8 of 13 Pageid#: 8


                                                  k
  security checkpoint were conducted 'pursuant to the oftk ial policy of the City of

  Chaflottesville as set forth in City ordinances and the sectlrity measures declared for

  August11,2018.

         30.    During this stop atthe sectlrity checkpoint,M iska and a11 other persons

  seeking to entertheDowntown M allthatday weresubjected to asearch oftheirperson
  and effects withoutprobable cause or individualized suspicion of wrongdoing,thereby

  invadingtheirpersonalprivacy and restdcting them in theirlibertyto move geely.

         31.    Once on the Downtown M all,M iska wentto the CVS Phnrmacy and

  proceeded to purchase othenvise-lawful,everyday items,bAcludbAg aerosolbug spray,

  cansofArizonalced Tea,aplasticpackage containingrazorblades,mzd lightbulbs.

         32. Severaloftheseitemswereprohibited bytheprovisionsof CityCode jj
  18-22 mld 18-25.

         33.    City Code jj 18-22 and 18-25 are express policies of the City of
  Charlottesville enacted by its City Council,the City's final legislative policym nking

  authority.

         34. Virgiia State Police SergeantS,W .Johnson (GisergeantJohnson'')was
  alerted to M iska's plans to purchase these forbidden items because M iska m ade

  statem ents about llis intentions to go to CVS and shop to agents of the City of

  Charlottesvillewllileproceedingthroughthecheckpointdescribedin!!I26-29above.
                 Sergeant Johnson, acting pursumlt to and in execution of City of

  Charlottesville ordinances,stopped M iska imm ediately upon hisexitfrom the CVS onto

  the D owntown M all.

         36.     SergeantJohnson noticed M iskawas carrying cases ofcnnned iced tea on


                                             8
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 9 of 13 Pageid#: 9



  hiswalkerand could see otheritem sdeemed ç:prollibited items''in M iska'splastic CVS

  bag.
         37.    M iska told SergeantJolmson thathe had comm on itèm sforpçrsonaland

  household use and thathelikestea.
         38.    Because he had an appointmentfor lunch and hislimited m obility would

  m akereturning forthatappointmentdifficult,M iska refused SergeantJohnson'srequest

  to leave the Downto'
                     wn M allwith the ltproltibited item s.''M iska wasthen arrested fora

  violationofCityCodej18-25.
         39.    M iska'sitem swere seized,hewasplaced in handcuffs,secured in apolice

  vehicle,atld transported to thelocaljail.Although the icedtea,aerosolspray and other
  item swere seized by the policeand werethebasisforM iska'snrrest,M iskawasallowed

  to keep possession of the firearm s he had brought with him lmtilhe entrusted those

  firenrm7to an acquaintancebeforebeing secm ed in thepolicevehicle.

         40.    During 1aw ezlforcem ent's attempt to shove M iska into a police vehicle

  thatwastoo smallforhisframe,M iskasuffered personalinjuries,includingabrasionsto
  his leftelbow and knee.M iska'sshirtalso wastorn during theprocessofbeing pushed

  into the police vehicle.The police were forced to callfor a largervehicle to transport

  M iska.

         41.    On Septem ber 28,2018,the crim inal charge against M iska for violating

  City Code j 18-25 wasdismissed afterthe Charlottesville City GeneralDistrictCourt
  found City Code j 18-25 to be lmreasonably overbroad in violation of due process,
  specifically becausej 18-25forbidsthepossession ofotherwise-lawfulhousehold items
  thatwere continuing to be sold and used in plain sightand without restriction in the


                                             9
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 10 of 13 Pageid#: 10



  regularcotlrse ofbusinesson theDowntown M all.
            42.   ln the GeneralDistrictCotu'tproceedings,SergeantJohlzson stated thathe

   and other members of 1aw enforcem entnoticed other patrons on the Downtown M all

   using glass orcnnned bottles while eating outside,buttook no action to cite them for

   violating theCity Code.

            43.   ln public statem ents m ade by authodzed officials, the City of

   Charlottesvillehasindicated itsintentto implementand enforce astate ofemergency atzd

   accompanying sectlrity measuresoftheldnd described in !! 23-24,27-29 above,on or
   aboutAugust12 in futtzre yearsdue to the significance ofthatdate and in anticipation of

   demonstrations and tmrest similar to that wlzich occurred within the City of

   Charlottesvilleon August12,2017.

            44.   Due to the restriction of M iska's libertiescaused by the expresspolicies

   enacted by the City ofCharlottesville,M iska washarm ed in severalways,including llis

   arrestand physicaldetention,hisexclusion f'
                                             rom the Downtown area forthe dm ation of

   the lGEl
          m ergency,'' the physicalhnrm to his person,the taking ofhisproperty,and the

   stop and search thattook place atthe seclzrity checkpointwhen entering the Downtown

   M all.

                                   COITNT I(DUE PRO CESS)
            45.   TheprecedingparagTaphsareincop oratedherein.

            46.   City Code j 18-25 violatesdue processin thatitdoes notprovide fair
   noticeto thecitizen ofwhatisproscribed and itistmreasonably subjectto arbitraryand
   discrim inatory ee orcem ent.

                  City Code j 18-25 violates due process in thatitis unconstitutionally
   vague and fails to establish minimal guidelines to gtzide police in its application and
                                              10
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 11 of 13 Pageid#: 11



   enforcem ent,resulting in tmjustified,unreasonableimpairmentofliberty thatpunishes

   oi
    herwise wholly-innocentactivity,and fails to adequately provide notice to ordinary
   citizensofwhatconductisforbidden and whatconductispennitted.

          48. City Code j 18-25 improperly entrusts lawmaking to the moment-to-
   momentjudgmentoflaw enfbrcementofûcers and failsto provide adequate notice in
   violation ofdueprocess.

          49.     The City ofCharlottesville'simplem entation,enactm ent,and entbrcem ent

   ofCityCodej18-25deprivedM iskaofllisbasiclibertiesofgeedom andmovementand
   therefore ofhisrightto due processas guaranteed by the Fourteenth Am endm entto the

   Urlited States Constittztion and incop orated to the States,entitling M iska to relieftmder

   42U.S.C.j1983.
           COUNT 11(UNREASONABLE SEIZURE AND SEARCH IN VIOLATION
                         OF THE FOIJRTH AM ENDM ENT)
          50.     Theprecedingparagraphsazeincom orated herein.

          51. M iskawasstopped,detained,andarrestedpursuantto CityCodej18-25.
          52. M iska'sbelongingsweretakenptlrsuanttoCityCodej18-25asitems
   prohibitedbyCityCodej 18-22.
          53.     The City of Charlottesville's enactment and enforcem ent of City Code

   jj 18-22and 18-25and itsdeclared StateofEmergencycaused SergeantJohnson'sarrest
   ofM iska and deprived M iska ofhisrightto be free,in hisperson and his effects,from

   llnreasonable searches and seiztlres as protected by the Fourth A m endm entto the U nited

   States Constitm ion,m ade applicable to the Statesby the Fourteenth Amendmentto the

   UnitedStatesConstitution,entitlingMiskatorelieftmder42U.S.C.j1983.
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 12 of 13 Pageid#: 12



   COIJNT III(POLICE SECIJRITY CIIECKPOG T -UNREASONABLE SEARCH
         & SEIZURE IN W OLATION OF THE FOURTH AM ENDG NT)
          54.     Thepreceding paragraphsareincorporated herein.

          55. InordertoaccesstheDowntownM all,M iskawassubjecttoawarrantless,
   and tmreasonable seizure and search ofllisperson and effectsby police atthe security

   checkpointwithoutindividualized suspicion and wasthereby restricted in his liberty to

   m ovefreely.

          56.     The City ofChadottesville'senactm entand enforcementofa policy that

   restrictedentrytotheDowntownM allandrequired a1lpatronstobesubjecttoastop and
   search withopt individualized suspicion deprived M iska and other persons who passed

   through thesecurity checkpointoftheirrightto be free,in theirperson and effects, from

   llnreasonable searchesand seizuresasprotected by theFourth Am endmentto the United

   States Constimtion,m ade applicable to the Statesby the Fourteenth Am endmentto the

   United StatesConstitulion,entitlingM iskato relieftmder42U .S.C.j1983.

                                  PM YER FOR RELIEF

          W HEREFORE,thePlaintiffrespectfullyrequeststhattheCourtenterjudgmentin
   llisfavorasfollows:

          A.Declming,ptlrsuantto 28 U.S.C.jj2201and 2202,thatCity Code j 18-25
             violatesthe Due Process Clause ofthe Fourteenth Am endmentto the United

             StatesConstimtion'
                              ,

             Declaring,pmsuantto 28U.S.C.jj2201and 2202,thatthe City'sorderand
             dixedive restricting access to the Downtown M all and requiring M iska and

             othercitizens be subjected to a seiznre and serch atasectlrity checkpoint
             violated the prohibition on lmreasonable searchesand seizllresguaranteed by

                                            12
Case 3:19-cv-00010-NKM-JCH Document 1 Filed 02/13/19 Page 13 of 13 Pageid#: 13



           theFourth Amendm entto theUnited StatesConstitution;

            Ordering thatthe Defendant,its oftlcers,agents,servants,employees,and a11

           personsin active concertorparticipation with the Defendantbe permanently

            enjoined from enforcing City Code jj 18-22 and 18-25 and any derivative
            regulations, and providing such further relief as is consistent with the

            mlllnd lon'
                      5

            Ordering the Defendant, its officers, agents, servants, employees, and al1

            persons in active concertorparticipation with the Defendantbe perm anently

            enjoined f'
                      rom enforcing apolicy ofrestricting accesstotheDowntown M all'
            and requiring allpatrons to be subjectto a stop and search ata seclzrity
            checkpoint;

         E. Ordering the Defendantpay M iska m onetary dnmages,in an nmotmtto be

            detennined at trial, he incurred as a result of the deprivation of his

            Constitutional rights, costs, attorneys' fees and expenses to the extent

            permittedunder42U.S.C.j1988;and
         F. GrantingsuchotherandfurtherreliefastheCourtdeemsjustandproper.
                                                  Respectfully subm itted,

                                                         /s/ElliottM .Harding

                                                  ElliottM .Harding,Esq.
                                                  VSB# 90442
                                                  CounselforthePlaintz
                                                  HARDING Cotm sEt,,PLLC
                                                  608Elizabeth Ave.
                                                  Charlottesville,V A 22901
                                                  Te1:434-962-8465
                                                  E:Hardingcotmsel@gmail.com
                                                  Pm icipating A ttonzey for
                                                  THE RUTHERFORD INSTITUTE
                                          13
